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                    UNITED STATES BANKRUPTCY COURT
                  FOR THE WESTERN DISTRICT OF MICHIGAN
                         ________________________

In re:                                                  Case No. BG 19-03329
                                                        Chapter 7
JEFFERY LEE CADARETTE,

     Debtor.
_______________________________/

               ORDER DENYING DEBTOR’S REQUEST
             REGARDING § 341 MEETING OF CREDITORS
                              AND
    SCHEDULING HEARING REGARDING ALLEGED VIOLATIONS OF THE
                       AUTOMATIC STAY

                      PRESENT: HONORABLE JAMES W. BOYD
                               United States Bankruptcy Judge

        On September 23, 2019, Jeffery Lee Cadarette (the “Debtor”) filed a letter
with this court regarding his chapter 7 case. (See Dkt. No. 15.) In the letter, the
Debtor indicates that he cannot attend the § 341 meeting of creditors scheduled
for September 25, 2019, because he is currently incarcerated. He also alleges
that the Michigan Department of Corrections violated the automatic stay after the
filing of his bankruptcy petition.

       The court has reviewed the Debtor’s letter and has determined to schedule
a hearing regarding the alleged stay violation. However, because the convening
and scheduling of the meeting of creditors is within the purview of the Office of the
United States Trustee pursuant to 11 U.S.C. § 341(a), the court cannot and will not
grant any relief regarding the Debtor’s attendance at the § 341 meeting.

      NOW, THEREFORE, IT IS HEREBY ORDERED that to the extent the
Debtor’s letter requests relief regarding the Debtor’s attendance at the § 341
meeting of creditors, the request is DENIED.

       IT IS FURTHER ORDERED that to the extent the Debtor’s letter requests
relief regarding alleged violations of the automatic stay by the Michigan
Department of Corrections, a hearing with be held at the United States Bankruptcy
Court, One Division North, 3rd Floor, Courtroom B, Grand Rapids, Michigan 49503
on November 21, 2019 at 9:00 a.m.

         If the Debtor wishes to appear at the November 21, 2019 hearing by
         telephone, he shall file a written request with the court by no later than
         November 14, 2019.
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           IT IS FURTHER ORDERED that the Clerk shall serve a copy of this Order
     pursuant to FED. R. BANKR. P. 9022 and LBR 5005-4 upon:

     Jeffery Lee Cadarette
     2500 S. Sheridan Drive
     EC Brooks Correctional Facility
     Muskegon, MI 49444

     Michigan Department of Corrections
     206 E. Michigan Avenue
     P.O. Box 30003
     Lansing, MI 48909

     Heidi E. Washington
     Director, Michigan Department of Corrections
     206 E. Michigan Avenue
     P.O. Box 30003
     Lansing, MI 48909

     State of Michigan
     Department of Attorney General
     G. Mennen Williams Building
     525 W. Ottawa Street
     P.O. Box 30212
     Lansing, MI 48909

     Jeff A. Moyer, Chapter 7 Trustee; and

     Office of the United States Trustee
     The Ledyard Building, 2nd Floor
     125 Ottawa N.W., Suite 200R
     Grand Rapids, MI 49503

                                           END OF ORDER




IT IS SO ORDERED.
Dated September 26, 2019
